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            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )                 CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                            ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Defendant Okimo Milligan’s Motion in

Limine to Preclude Government from Introducing Certain Exhibits at Trial filed on August 9,

2009 (Docket No. 167). Defendant Milligan requests that the government be precluded from

introducing marijuana seized during a search of the residence located at 6-6 Catherine’s Rest in

Saint Croix, Virgin Islands. The Government has informed the Court that it will not introduce

evidence of the cleaning equipment nor the curved rifle magazine at the trial of this matter. After

careful consideration of the briefs submitted by the parties, the Court issues the following ruling.


   I. STANDARD OF REVIEW


       Federal Rule of Evidence 402 provides that evidence which is not relevant is not

admissible. Relevant evidence is evidence that tends to make the existence of a fact that is of

consequence more or less probable. Fed. R. E. 401. Even if evidence is relevant, it may not be

admissible for a number of reasons. Federal Rule of Evidence 403 provides for the exclusion of

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evidence whose probative value is substantially outweighed by the danger of unfair prejudice or

confusion.


   II. DISCUSSION


       On May 12, 2008, officers discovered and seized marijuana plants outside as well as

inside the house located at 6-6 Catherine’s Rest in Saint Croix, Virgin Islands. Consequently,

Defendants were indicted for: 1) possession of marijuana (Count 1), manufacturing marijuana

(Count 2), and maintaining a drug production facility (Count 3), among other offenses, on July

15, 2008. Defendant Milligan argues that the marijuana plants found inside the house are

irrelevant because he is only charged with distributing and manufacturing plants found outside

the house.


       Because all Defendants in this case are charged in Counts 1, 2 and 3 with possession,

intent to distribute and manufacture of marijuana, their possession of marijuana is necessarily a

fact that is of consequence in this case. The Court finds that the marijuana seized from inside the

property located at 6-6 Catherine’s Rest is relevant because Defendants’ possession of marijuana

inside the house makes it more probable that they also possessed marijuana outside the house, as

charged in Count 1. The dried marijuana plants found inside of the house also link Defendants to

the manufacture of marijuana offense charged in Count 2. If Defendants possessed dried

marijuana in the house, it is more likely that they were involved in the manufacture of marijuana

seized in the yard. Additionally, Defendants’ possession of marijuana inside the house helps to

establish their knowledge that the premises they maintained was used to manufacture marijuana,

as charged in Count 3. The Court finds that the probative value of the marijuana found inside the




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house being used as evidence is not substantially outweighed by the danger of unfair prejudice to

Defendants or confusion of the jurors.


       After careful consideration and the Court being fully advised in the premises, it is hereby


       ORDERED that Defendant Amon Thomas’ Motion in Limine to Preclude Government

from Introducing Certain Exhibits at Trial Docket No. 167) is DENIED.



       ENTERED this 14th day of September, 2009.


                                             _______________/s/________________________
                                             HONORABLE RAYMOND L. FINCH
                                             SENIOR U.S. DISTRICT JUDGE




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